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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

  CADY DAUGHTERY, MICHAEL
  NORRIS,    JULIE     RICHARDSON,
  BRIAN and JESSICA COX, TERRA
  WEAVER, and DAVID LE, individually                  Case No. 1:17-md-02800
  and on behalf of all others similarly
  situated,

                       Plaintiffs,

  v.


  EQUIFAX, INC.,

                       Defendant.



                                                  

   CERTIFICATE OF INTERESTED PERSONS AND CORPORATE DISCLOSURE
                           STATEMENT

       Pursuant to Local Rule 3.3 of the Northern District of Georgia, Counsel for Plaintiffs

Brian Cox and Jessica Cox, individually and on behalf of all others similarly situated, hereby file

this Certificate of Interested Persons and Corporate Disclosure Statement.


       1. The undersigned counsel of record for the Plaintiffs certify that the following is a full

and complete list of all the parties in this action, including any parent corporation and publicly

held corporation that owns 10% or more of the stock of a party:


               -Cady Daugherty, Plaintiff
               -Michael Norris, Plaintiff
               -Julie Richardson, Plaintiff
               -Brian Cox, Plaintiff
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               -Jessica Cox, Plaintiff
               -Terra Weaver, Plaintiff
               -David Le, Plaintiff
               -Equifax, Inc., Defendant
       2. The undersigned further certifies that the following is a full and complete list of all

other persons, associations, firms, partnerships, or corporations having either a financial interest

in or other interest which could be substantially affected by the outcome of this particular case:


               -All other potential class members identified in Plaintiffs’ Class Action
               Complaint.
       3. The undersigned further certifies that the following is a full and complete list of all

persons serving as attorneys for the parties in this proceeding:


               -Benjamin A. Gastel, Attorney for Plaintiffs
               -J. Gerard Stranch, IV, Attorney for Plaintiffs
               -Michael G. Stewart, Attorney for Plaintiffs
               -Alex G. Streett, Attorney for Plaintiffs
               - James A. Streett, Attorneys for Plaintiffs
       This 22nd day of December, 2017


                                              s/Benjamin A. Gastel____________________
                                              Benjamin A. Gastel (Georgia Bar No 432776)
                                              J. Gerard Stranch, IV (TN BPR #23045) (PHV
                                              forthcoming)
                                              Michael G. Stewart (TN BPR# 16920) (PHV
                                              forthcoming)
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                           mikes@bsjfirm.com

                           s/Alex G. Streett______________
                           Alex G. Streett (65038, PHV
                           forthcoming))
                           James A. Streett (2007092, PHV
                           forthcoming)
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